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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION


   IMPLICIT, LLC,                                 §
        Plaintiff,                                §
                                                  §
   v.                                             §
                                                  §
   IMPERVA, INC.                                  §
                                                      Case No. 2:19-cv-00040-JRG-RSP
                                                  §
                                                                LEAD CASE
                                                  §
   FORTINET, INC.                                 §
                                                      Case No. 2:19-cv-00039-JRG-RSP
                                                  §
                                                  §
   JUNIPER NETWORKS, INC.                         §
                                                      Case No. 2:19-cv-00037-JRG-RSP
                                                  §
            Defendants.                           §




                                    PLAINTIFF IMPLICIT, LLC’S
                               OPENING CLAIM CONSTRUCTION BRIEF




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            Pursuant to Local Patent Rule 4-5(a), Plaintiff Implicit, LLC respectfully submits this

   Opening Claim Construction Brief.

   I.       INTRODUCTION

            The Implicit Patents disclose and claim a foundational technology to demultiplex (i.e.,

   separate out) many different types of network traffic and inspect that traffic to determine the type

   of application protocol (e.g., HTTP) and application data (e.g., Facebook, Skype, DDoS attacks,

   viruses) that the traffic is carrying. The constructions that Implicit proposes stay true to Implicit’s

   invention. The Defendants, in contrast, seek to add limitations to the claims that are not supported

   by the specification. These proposed constructions result in the claims covering virtually no real-

   world network computer system, including the systems that Implicit actually designed and built

   on the patented technology. The purpose of those constructions is not to assist the fact finder in

   resolving the infringement disputes, but to allow the Defendants to assert noninfringement on

   grounds unrelated to Implicit’s inventions. Implicit respectfully requests that the Court reject the

   Defendants’ constructions and enter Implicit’s proposed constructions.

            Defendants also contend that collateral estoppel from the NetScout claim construction

   applies. That is incorrect. A number of terms below—such as “one or more routines”—were not

   at-issue in NetScout at all. Even for the same claim terms, the issues and the evidentiary records

   are different here than in NetScout. The Court also construed multiple terms in NetScout—not just

   one term. The stipulation in Sandvine, for example, lists approximately 12 claim terms; those

   terms did not all present one issue. The verdict in NetScout was a single-question infringement

   verdict, and NetScout raised multiple noninfringement arguments at trial. In these circumstances,

   none of the claim constructions from NetScout were critical or necessary to the NetScout and

   Sandvine judgment under Fifth Circuit collateral estoppel law. Blitzsafe Tex., LLC v. Honda Motor

   Co., 2016 U.S. Dist. LEXIS 123572, at *24 (E.D. Tex. Sep. 12, 2016); see also Novartis Pharms.

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   Corp. v. Abbott Labs., 375 F. 3d 1328, 1334 (Fed. Cir. 2004) (finding noninfringement verdict was

   not preclusive where “[t]he verdict form on which the jury indicated its decision did not require

   the jury to specify the one or more limitations in claim 1 that it found [Defendant’s] product did

   not contain” and “there is no record evidence explaining the jury’s rationale for its verdict”). The

   NetScout claim construction is currently on appeal in the Sandvine case and is in the post-trial

   motions stage in the NetScout case, and the claim constructions will be reviewed de novo. In these

   circumstances, Implicit respectfully requests that the Court decline to apply collateral estoppel and

   construe these terms in the manner proposed by Implicit.

   II.      BACKGROUND AND TECHNOLOGY OVERVIEW

            This case involves six related patents that are referred to collectively as the Demultiplexing

   Patents (or “the Implicit Patents”).1 The Patents are entitled “Method and System for Data

   Demultiplexing,” and provide an architecture for demultiplexing data into different messages (or

   flows) to inspect and analyze each flow at the application layer. Traffic on a network (such as the

   Internet) is multiplexed together, which means that the traffic from different messages (such as

   video, image, or email) are combined and transmitted over a medium. Demultiplexing refers to

   the process of separating out that combined traffic back to identify and inspect packets from each

   message.

            Network traffic is transmitted in smaller units called “packets” that contain smaller pieces

   of the overall message. Computers communicate using a layered “stack” of protocols, and each

   packet has a number of headers that generally correspond to each protocol in the stack, e.g., TCP/IP

   is a common protocol stack for Internet communications that uses the TCP and IP protocols. There



   1
     The following are the Demultiplexing Patents at issue in this case: U.S. Patent Nos. 8,694,683
   (“the ’683 Patent”); 9,270,790 (“the ’790 Patent”); 9,591,104 (“the ’104 Patent”); 10,027,780
   (“the ’780 Patent”); 10,033,839; (“the ’839 Patent”) and 10,225,378 (“the ’378 Patent”).

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   are protocols relating to the data link that the traffic travels on (e.g., Ethernet). There are also

   protocols for applications that the data is associated with. Common examples are HTTP or HTTPS

   for web-based traffic and SMTP for email. The data itself (e.g., the video, image, or email) is on

   top of the protocol stack in the packet. As the packets travel along a network like the Internet,

   packets from multiple messages are mixed together on the network, resulting in a multiplexed

   stream of packets. See generally, Ex. 1, at ¶¶ 35–57, 99–108 (describing network processing and

   how network software process packets up and down the protocol stack).

            A multiplexed stream of packets for three different messages—video, email, and an image,

   is shown in the figure below:




            The Demultiplexing Patents provide a path-based architecture that inspects the packets at

   the application layer to demultiplex a received multiplexed stream. As a packet arrives, the

   software inspects information in that packet in the lower-level protocols. Packets in a message are

   typically associated together based on the addresses of the source and destination of the message

   (typically the IP addresses), the network port from which the message originated, and the network

   port to which the message is destined. If the packet is for a message that has not yet been identified,

   the software creates the path for that message.




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            The software routines then inspects the packet at the higher-level protocols and continue

   to create the “path” as the software inspects and identifies the application-level protocol for the

   message (e.g., HTTP) and the application data (e.g., Netflix). This example process is shown in

   the annotated version of Figure 1 of the Demultiplexing Patents for Netflix traffic.




            While this example shows the software identifying the application protocol (HTTP) and

   the application data (Netflix) based on a single packet, it often takes more than one packet for the

   system to identify the application protocol and the application data.        This is because that

   application information may span multiple packets. It thus may take more than one packet to

   definitively identify the application protocol and application. In those cases, the software will

   continue to create the path based on inspecting that group of packets (including ensuring that they

   are in the right order).

            The process to create the path requires more complicated programming and analysis at the

   application protocol and application stages. The Implicit Patents overcome this speed problem by

   providing a way to make the complicated branching decisions for the initial packet or packets of

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   the flow, store that path, and then use that path when the software processes subsequent packets

   of the flow.

            After the software identifies the path for a message, it stores that path for that message

   (typically based on the address and port information that uniquely identifies that message). Then,

   when subsequent packets from that message arrive, the software processes those packets using the

   path that it has already built to handle that message. This processing is fast because it does not

   need to re-create the path. The example below from Figure 4 of the Patents shows the stored path

   data structure (typically a flow table) for three messages—a Netflix video, an email for Gmail, and

   an image for Instagram:




            Claim 1 of the ’683 Patent shows these three concepts: create the path, store the path, and

   process subsequent packets using that path, where the path indicates that the software can inspect

   at the application layer (the “execute . . . to convert one or more packets having a TCP format into

   a different format” limitation):

                     A first apparatus for receiving data from a second apparatus, the first
                     apparatus comprising:



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   the Palo Alto Networks case,3 and the Court adopted the agreement. The Court should adopt that

   same construction here.

            The Defendants, in contrast, propose a construction that has never been adopted in any

   prior case. The Defendants’ construction adds a new limitation to the claims—that the sequence

   of routines that form the path must “not [be] established in a chain of modules connected before

   receiving a first packet of the message.” The Court should reject this limitation.

            The issue that the parties raise here relates to the nature of the “path” in these claims: what

   is a “path” and when does the software “create . . . a path?” The claims themselves answer these

   questions. The “path” includes a data structure, and that data structure indicates the “sequence of

   routines for processing packets in a message,” such as a video, email, or image. E.g., ’683 Patent,

   claim 1. The claims also speak to when the software creates the path: after it receives the first

   packet of a message. This logically flows from the language in claim 1 of the ’683 Patent: the

   software creates the path “based on an identification of information in a received packet of a

   message.” Before receiving the first packet in the message, there is no completed path in a data

   structure for that message; it is only after the first packet in the message that the software creates

   the path. That data structure indicates the sequence of routines for processing subsequent packets

   in the message.




   00053, Dkt. 111 (E.D. Tex. Apr. 15, 2019) (Payne, M.J.) (“NetScout”); Implicit, LLC v. Huawei
   Techs. USA, Inc., No. 6:17-CV-182, Dkt. No. 101 (E.D. Tex. Mar. 6, 2018) (Gilstrap, J.) (“Palo
   Alto Networks”); Implicit, LLC v. Trend Micro, Inc., No. 6:16-CV-80, Dkt. No. 115, 2017 WL
   1190373 (E.D. Tex. Mar. 29, 2017) (Gilstrap, J.) (“Trend Micro”); Implicit Networks, Inc. v. F5
   Networks, Inc., No. 3:14-CV-2856, Dkt. No. 57, 2015 U.S. Dist. LEXIS 60197 (N.D. Cal. May 6,
   2015) (Illston, J.) (“F5 Networks II”); Implicit Networks, Inc. v. F5 Networks, Inc., No. 3:10- CV-
   3365, Dkt. No. 93, 2012 U.S. Dist. LEXIS 27238 (N.D. Cal. Feb. 29, 2012) (Illston, J.) (“F5
   Networks I”).
   3
     Counsel for Fortinet was counsel for Palo Alto Networks in that case.

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            The specification of the Implicit Patents supports the plain language. The Patents teach

   that existing network computer systems “typically use[d] predefined configuration information to

   load the correct combination of conversion routines for processing data.” ’683 Patent, at 1:48–59.

   In these systems, the path for each type of message was pre-created before the packets arrived;

   they did not create any part of the path data structure after receiving the first packet of a message.

            The main problem with these prior approaches is that they consumed resources or were too

   static in their processing to be useful for anything except specific-purpose-built devices (e.g.,

   remote controls or cameras). The potential combinations required to process each possible type

   of message a system may encounter (e.g., each type of email, video, or other flow of related

   packets) increases exponentially as the number of message types increases due to the stacked

   nature of network protocols and applications (e.g., Facebook runs on top of HTTP, which runs on

   top of TCP, which runs on top of IP, which runs on top of Ethernet). Similarly, while a system

   could attempt to inspect every packet and determine for each packet which branches in the source

   code to take, this model would become computationally expensive as well. This is because the

   number of branches would grow with the number of applications. The end-result, as recognized

   in the Patents, is that “[t]he overhead of statically providing each possible series of conversion

   routines is very high.” ’683 Patent, at 1:48–59. This was a significant problem because state-of-

   the-art computers in the 1990s had less resources available than a modern-day smartphone.

            The solution in the Implicit Patents was to create the path after receiving the first packet of

   a message—and to do so based on information in the packet. While common sense dictates that

   the system includes the software routines and the ways they could be connected together

   beforehand (that is how all computers work), the software does not create the actual path in the

   data structure until after it receives and processes the first packet of a message. This allows the



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   software to discover early in the demultiplexing process which routines are needed to process the

   data and then store the identification of these routines in a data structure so subsequent packets can

   benefit from these branching decisions without having to make them again. The path is the

   manifestation of the branching decisions through the set of all possible routines.

            The prosecution history supports Implicit’s construction.        Implicit discussed during

   prosecution a prior art 1997 Ph.D. thesis by David Mosberger that described an operating system

   called SCOUT. The SCOUT operating system concept was intended for special-purpose devices

   that handled a limited amount of traffic types, such as television set-top boxes, remote controls,

   and cameras. Ex. 2, at 16–18. Because of this limited application, a SCOUT programmer could

   pre-configure the software for a particular device to handle the expected traffic (e.g., configure a

   path for MPEG video delivered to a set-top box or configure a path to handle JPEG images sent

   from a camera). See id. In other words, SCOUT loaded a configuration that codified all the

   branching decisions that the software would need to make. SCOUT then used that configuration

   to create all the possible path data structures before the packets associated with those paths were

   received. In this way, SCOUT allowed the branching decisions to be avoided, but it did so by

   statically defining and limiting the number of those decisions that could be made by the system.

   The Implicit system, in contrast, is intended for general network devices (such as switches,

   gateways, and firewalls) whose purpose is to handle many different types of Internet traffic and

   applications and to be able to demultiplex all of that traffic.

            Figure 3.6 from Dr. Mosberger’s thesis shows an example of the limited number of pre-

   configured paths that SCOUT utilized. The figure shows with green lines (p1, p2, p3, p4, and p5)




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   the pre-created “paths” in one implementation, namely a device that handles traffic based on

   certain types of lower-level protocols (e.g., Ethernet, ARP, IP, UDP, and TCP), Ex. 2, at 87:




            In this diagram, the green lines reflect the “paths,” not the gray lines. Those green “paths”

   are created by the system prior to SCOUT receiving the first packet of a message. See NetScout,

   at 11–13 (reproducing prosecution history). Then, as the packets arrive, SCOUT identifies which

   of those pre-stored green paths (p1, p2, p3, p4, or p5) to use to handle the traffic. See id.; see also

   Ex. 2, at 38 (showing example path to display MPEG video). SCOUT does not create any paths

   after receiving the first packet of a message.

            Based on these straightforward disclosures, Implicit believes that the Court could decline

   to construe these terms because the plain language of the claims unambiguously describes the

   “path,” and how it operates is sufficiently clear. However, given the long history with patents

   within the family of the Implicit Patents, Implicit has proposed its construction above to match

   how prior courts have construed the term (and how Implicit proposed that term to be construed in

   the Palo Alto Networks and NetScout cases): that the ordered arrangement of routines in the path

   data structure is not “identified (i.e., configured) prior to receiving a first packet of a message.”



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            The Defendants’ construction introduces a new limitation into the claims—“a chain of

   modules connected before receiving a first packet of the message.” The Implicit Patents and their

   claims do not recite or disclose a “chain of modules” or when they are “connected.” And it is

   uncertain what Defendants’ construction actually means. To the extent it is just another way of

   saying that the path cannot be created until after the first packet of a message arrives, it is redundant

   of the existing claim language and unhelpful to a jury. And to the extent it shifts the inquiry from

   (1) whether the path was created for a particular message before the first packet of the message

   arrived to (2) whether the path could have been created using source code modules that were

   written before the system begins receiving packets, the construction is incorrect because it conflicts

   with the plain language of the claim as a whole, which requires that the path be created “based on

   an identification of information in a received packet of a message.” See, e.g. ’683 Patent, claim 1.

            Neither Implicit’s prosecution history concerning Dr. Mosberger’s thesis nor the thesis

   itself disclaims the existence of software routines prior to receiving the first packet of a message,

   nor could it. Nor do they disclaim systems in which the source code indicates how the branching

   decisions in the source code might indicate the sequence of processing steps to process packets

   within a message (which would have the absurd result of excluding virtually every networked

   computer as a practical matter). Indeed, reviewing the prosecution history related to SCOUT,

   courts have reached two key conclusions that weigh against adopting such a construction:

                 •   “The patentee did not disclaim the existence of software routines prior to receiving
                     a first packet of the message.” NetScout, at 13 (emphasis in original).

                 •    “Implicit did not disclaim the ability to create a sequence of conversion routines
                      by relying in some part on predefined ‘configuration information,’ but only the use
                      of pre-configured paths.” F5 Networks I, at 6.

            Such a construction would eviscerate the essence of Implicit’s patented invention. Indeed,

   that type of shift conflicts with the intrinsic record above and it is significant. It would allow


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   Defendants to argue that that they do not infringe on the basis that their source code establishes all

   of the modules and how they could be connected. That position would exclude the embodiments

   of the Implicit Patents, a highly disfavored result. Medrad, Inc. v. MRI Devices Corp., 401 F.3d

   1313, 1320 (Fed. Cir. 2005) (“A claim construction that does not encompass a disclosed

   embodiment is... rarely, if ever, correct.”) (alteration in original) (internal quotation marks and

   citation omitted).

             Implicit respectfully requests that the Court reject this source-code-based claim-

   construction noninfringement defense. The source code is not the “path” of the claims—the “path”

   is the actual data structure created and stored to indicate the sequence of routines to process

   subsequent packets of a message. While the source code might include many branching decisions,

   these decisions are not known until the software inspects a given packet. Only after this inspection

   does the software described in the Implicit Patents create a data structure capturing these branching

   decisions. Using that path data structure, subsequent packets of the message will be processed

   without having to make these branching decisions again. The source code is not the “path”; the

   data structure storing the results of the processing decisions through the source code is the claimed

   “path.”

             Nevertheless, Implicit expects the Defendants to raise this defense because NetScout

   recently prevailed at trial and raised this improper argument. NetScout asserted, among other

   things, that it did not infringe because all of its “paths” were already programmed into the if-then-

   else statements in its source code. The source code, however, is not the claimed path. The path is

   the data structure(s) that indicates the sequence of routines, and which is created based on

   information in a packet received by the device. Whether that path is pre-created is the merits

   question—not whether the writing of the source code pre-dates the arrival of the first packet.



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   than, perhaps, that these are software routines). The surrounding claim language makes clear that

   the one or more routines are identified and then, the path is created using those routines that have

   been identified. See ’378 Patent, claim 1 (“identifying . . . one or more routines for processing the

   packet . . . creating a path using the identified one or more routines”); ’780 Patent, claim 1

   (“identifying . . . one or more routines for processing the packet . . . creating a path using the

   identified one or more routines”); ’839 Patent, claim 1 (“identifying . . . one or more routines for

   processing the packet . . . creating a path using the identified one or more routines”). No further

   construction is necessary to assist the jury.

            The prosecution history of these patents also supports Implicit’s position.            During

   prosecution of these patents, Implicit expressly disavowed the statements that formed much of the

   basis of the construction of the “sequence of [two or more] routines”-related terms F5 Networks I

   and F5 Networks II. Ex. 3, at 7–10 (’780); Ex 4, at 4 (’839); Ex. 5, at 7–10 (’378). During

   prosecution of the ’780 Patent, for example, Implicit explained that “the actual routines

   themselves,” as well as “information that lists and orders these routines, may exist prior to

   ‘receiving’ the ‘packet’” under the claims:

                     Applicant wishes to clarify that the “identifying” of “one or more
                     routines for processing the packet” in claim 26 [which issued as
                     claim 1] can, in some cases, rely in part or entirely on pre-identified
                     information (e.g., a sequence of routines). Thus, the “identifying”
                     of claim 26 might include reading a pre-defined sequence of
                     routines from a file. On the other hand, claim 26 makes clear that
                     the “path” is created after “receiving ... a packet of a message”
                     since it is created “using the identified one or more routines.

                     Thus, as just one example, claim 26 would cover a method in which,
                     after receiving a packet of a message, one or more routines (e.g., a
                     TCP routine and an HTTP routine) are identified by using the “key
                     value” to look up pre-defined information, such as an ordered list of
                     routines found in a configuration file or lookup table. The identified
                     routines may then be used to create a “path” for the packet. Thus,
                     the actual routines themselves (the TCP routine and the HTTP


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                     routine, in this example) as well as information that lists and
                     orders these routines, may exist prior to “receiving” the “packet”
                     of claim 26. For the “path,” on the other hand, the language of
                     claim 26 requires that this is necessarily created after receiving the
                     “packet,” at least because the path is created using “one or more
                     routines” that are identified “using the key value” that is
                     “determined based on one or more headers in the packet.”

   Ex. 3, at 9 (emphases added). These statements also confirm that the “path” is something

   altogether different than the actual source code routines or how they could be programmed to be

   ordered together (e.g., the source code)—and that the claims require that the path be created after

   receiving the first packet of the message. Id.

            The Defendants propose the same construction for this term as they do for the “sequence

   of [two or more] routines” terms. As a result, the Defendants’ construction here suffers from the

   same problems discussed above. And, to the extent the Defendants’ construction excludes from

   the scope of the claims what the prosecution history for these patents expressly state is covered, it

   should be rejected for that reason as well.

            That approach would, like above, erase the distinction between two key concepts—(1) the

   “routines” and how they may be ordered, and (2) the actual “path” that is created in a data structure.

   Erasing that distinction will allow for an argument at trial that the “path” is the if-then-else trace

   in the source code—and not the actual data structure(s) created after the first packet arrives. All

   computers use if-then-else-case statements and logic. As detailed above, Implicit requests that the

   Court expressly reject this source-code-based argument at this stage. Implicit also requests that

   the Court decline to further construe this term.




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   (or the transport layer) to another layer in the protocol stack, such as the application layer. The

   ordinary meaning of a “format” of a packet in connection with network processing is which layer

   of the packet is being processed. Ex. 1, at ¶¶ 109–56.5 Thus, “converting” packets from one

   format to another format would be understood by those skilled in the art as processing the packet

   from one layer in the protocol stack to another layer in in the protocol stack, e.g., from the TCP

   layer to the application layer. Id. at ¶¶ 155–56; see also id. at ¶¶ 99–107, 114–44 (describing how

   systems convert packets “down” the protocol stack for transmission and “up” the protocol stack

   upon receipt). These concepts flow from the claim language, which contains understandable terms

   such as “execute,” “convert,” and “format.” The language does not restrict how that conversion

   processing occurs—whether through the use of pointers, using copies of the packets, other data

   structures, or other ways.

            Rather than afford those terms their plain meaning, the Defendants’ constructions replace

   those terms with the more complicated concepts of an “outermost header” and “outermost header

   structure” of a packet. The claims themselves show that adding these concepts to all of the claims

   is, at most, unnecessary. “Differences among claims can also be a useful guide in understanding

   the meaning of particular claim terms,” and the presence of a dependent claim that adds a particular

   limitation “gives rise to a presumption that the limitation in question is not present in the

   independent claim.” Phillips v. AWH Corp., 415 F.3d 1303, 1314–15 (Fed. Cir. 2005 (en banc).




   5
     Juniper has moved to exclude the Almeroth Declaration in connection with its Motion to
   Disqualify Dr. Almeroth. Implicit opposes that Motion for the reasons that are (and will be) laid
   out in its briefing. Even if the Court were to grant Juniper’s Motion, however, Implicit submits
   that the Court can consider the declaration in these consolidated proceedings that involve Fortinet
   and Imperva. Fortinet and Imperva have not objected to the Declaration. And, in any event, the
   Court can certainly consider the intrinsic and extrinsic evidence cited within Dr. Almeroth’s
   declaration and discussed in and attached to this brief.

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            Here, some claims of the Implicit Patents already include the concept of an outermost

   header in the claims while other claims—including an independent claim—lack that limitation.

   Compare, e.g., ’683 Patent, claim 16 (reciting “a particular routine that is used to execute a

   protocol to convert packets from an input format to an output format”) with claim 20 (reciting

   the invention of claim 16 “wherein the particular routine is executable to convert packets by

   removing an outermost header of the packets”) (emphases added); see also ’683 Patent, claim 24

   (“removing an outermost header of a given packet using a first routine corresponding to a protocol

   in a first layer and by removing the resulting outermost header using a second routine

   corresponding to a different protocol in a different layer”) (emphases added). In fact, almost none

   of the claims of the Implicit Patents include the term “outermost header.”

            This difference between the claims strongly suggests that it is improper to import the

   “outermost header” concept into claims that expressly omit that concept. Arlington Indus., Inc. v.

   Bridgeport Fittings, Inc., 632 F.3d 1246, 1254–55 (Fed. Cir. 2011) (declining to import a “split”

   modifier for a metal adaptor where some claims expressly recited “split”-related limitations and

   other claims omitted those limitations on the adapter). In addition, the “outermost header”

   language does not appear in the specification of the Implicit Patents. And none of the claims in 5

   out of the 6 Implicit Patents asserted here recite “outermost header.” This further weighs against

   importing this concept into all of the claims—especially when the patentee knew how to direct

   claims to the outermost header of packets and did so in certain claims of the ’683 Patent. For these

   reasons, Implicit respectfully requests that the Court decline to import an “outermost header”

   limitation into all of the claims, and instead, construe the term according to its ordinary meaning.

            In addition, as outlined below, Implicit respectfully requests that the Court reject

   Defendants’ positions that a pointer cannot determine the “outermost header” of a packet and that



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   using pointers to process packets up the protocol stack is not conversion from one format to

   another. The evidence shows that these restrictions on the claims are incorrect.

                     2.       A Pointer Can Determine the Outermost Header of a Packet

            A pointer to a header can determine the “format” of a packet, including by identifying the

   “outermost header” of the packet. At the time the Implicit Patents were filed, using pointers was

   the common way that operating systems determined the format of the packet to process it up the

   protocol stack. One of ordinary skill in the art would thus have understood that the claims of the

   Implicit Patents encompassed using pointers to determine the format of a packet at each layer in

   the protocol stack, reflected in the evidence addressed above. See Ex. 1, at ¶¶ 150-156. Nothing

   in the intrinsic record excludes from the scope of the Implicit Patents using a pointer to determine

   the format of packet.

            The evidence confirms that the claims of the Implicit Patents do encompass using a pointer

   to a protocol header to determine the “format” of the packet (including the “outermost header”).

   The references cited on the face of the Patents confirm this basic truth.6 By 1998, “[t]raditional

   protocol implementations usually overla[id] a pointer to a header structure on top of a buffer and

   then access[ed] that header’s fields through typecasting and pointer de-referencing.” Ex. 6, at 3;

   see also Ex. 1, at ¶¶ 110–13. These implementations were usually written in the C-based

   programming languages, one of the most common programming language families at the time (as

   well as today).7 See Ex. 1, at ¶¶ 58–61. These systems make heavy use of pointers to simplify




   6
     The references cited on the face of the Implicit Patents are intrinsic evidence. Formation, Inc. v.
   Benetton Grp. SpA, 401 F.3d 1307, 1311 (Fed. Cir. 2005) (“This court has established that ‘prior
   art cited in a patent or cited in the prosecution history of the patent constitutes intrinsic
   evidence.’”).
   7
     Much of Implicit’s software implementing the inventions was written in C-based languages, as
   is the packet-processing software in the Defendants’ products.

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   header processing at each layer, e.g., by using pointers, “[r]emoving data from a packet is a simple,

   straightforward operation involving pointer manipulation rather than data copying”:

                     Protocols implemented in traditional system programming
                     languages like C make heavy use of memory pointers. Pointers are
                     used in a variety of ways in order to avoid costly memory copying.
                     Pointers reduce data copying because abstract data types (e.g.,
                     buffers, protocol headers, and state information) can be passed by
                     reference instead of value; pointers simplify header processing
                     because structures defining headers are usually typecast onto data
                     buffers, allowing the individual fields to be accessed randomly
                     instead of sequentially. For example, protocol data (a packet) is
                     normally passed from protocol to protocol in the form of a memory
                     buffer referred to by a pointer variable. Removing data from a
                     packet is a simple, straightforward operation involving pointer
                     manipulation rather than data copying. Likewise, when data is
                     added to a packet, memory buffers are normally chained together
                     using pointer manipulation instead of data copying.

   Ex. 7, at 3 (emphases added); see also Ex 8, at 21:15–30 (describing software that would “get a

   pointer to start of protocol header, call layer parse routine, determine the protocol at next level,

   [and] set pointer to start of next layer protocol”); Ex. 1, at ¶¶ 111–13.

            These example implementations of protocol processing included systems based on Linux

   or FreeBSD, two very common open-source codebases. Those systems use pointers to convert up

   and down the protocol stack, similar to the manner described above. In Linux, for example, the

   operating system uses a buffer structure (called sk_buff) that creates pointers to each header in




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   the packet, such as an Ethernet header, IPv6 header, and TCP header shown in the diagram below

   (with the ethhdr, ipv6hdr, and tcphdr type pointer structures):8




            As the processing converts packets up the stack, Linux-based systems can use the

   skb_pull function to advance the head pointer to the next location in the packet (e.g., down

   from Ethernet to IP in the above figure) and then create pointers to the right type header structure

   (e.g., creating an ethhdr pointer structure during Ethernet processing and then an ipv6hdr

   during IP processing).9 FreeBSD similarly uses pointers to headers in a buffer (called mbuf) to

   access those headers and convert packets up the protocol stack. See, Ex. 1, at ¶¶ 113–124

   (discussing Linux and FreeBSD and how they operate).

            The prosecution history evidence also supports rejecting Defendants’ interpretation of

   “outermost header” as excluding the use of pointers. See, e.g., NetScout, at 26. In a reexamination

   of a patent related to the Implicit Patents, U.S. Patent No. 7,711,8507, Dr. Ng (Implicit’s expert)




   8
    The image below is available from http://www.skbuff.net/images/skbuff.png.
   9
       The basic Linux functions for the sk_buff structure are                          explained     at
   http://www.skbuff.net/skbbasic.html.

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   submitted a declaration related to a reference known as Decasper. See Ex. 9, ¶ 4. Decasper

   disclosed software functionality for a router. Id.

            In Dr. Ng’s declaration describing Decasper, he explained that “the outermost header is

   always IP” in Decasper. Id. at ¶ 6; see also Ex. 1, at ¶¶ 134–35. The Decasper source code shows

   that the “outermost header” that Dr. Ng referred to was defined by a pointer to the IP header. The

   code creates a pointer (*ip) to the IP header structure, exemplified by the declaration below for

   IPv6 traffic:




   Ex. 10, at DEFSPA182329; see also Ex. 1, at ¶¶ 125–35 (discussing Decasper source code); id. at

   ¶¶ 69–73 (discussing pointers in C); Ex. 11, at 93 (discussing pointers in IBM C/C++ Language

   Reference). This source code shows that the “outermost header,” here the IP header as identified

   by Dr. Ng, may be determined by a pointer to a header within the packet.

            Decasper was not unique in its use of pointers among the references that are part of the

   intrinsic evidence. SCOUT (Mosberger) also used pointers to determine the outermost header of

   the packets as the system converted the packets up the protocol stack. Similar to Linux, SCOUT

   utilized a buffer with pointers to the two ends—identified as the “head” and “tail”—of the message

   portion of the buffer, as shown below (Ex. 12, at DEFSPA003055):




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            To convert down the protocol stack to transmit a message (e.g., convert from IP to

   Ethernet), SCOUT used the MsgPush function. That function decrements the head index pointer

   (moves it to the left in the above figure) and then copies the protocol header into that space. Ex.

   12, at DEFSPA003055–56. To convert up the protocol stack upon receiving a message (e.g., from

   Ethernet to IP), SCOUT used the MsgPop function. That function increments the head index

   pointer (moves it to the right in the above figure) to the next header in the message and then

   processes that header—even though the other lower-level headers would still remain in the buffer.

   Id. Those skilled in the software art recognize that this technique is commonplace in software

   written in the C programming language. See, e.g., Ex. 1, at ¶¶ 58–91, 109–56.

            The SCOUT source code confirms the presence of this functionality. For Ethernet

   processing up the protocol stack, for example, the source code increments the head index pointer

   by the length of the Ethernet header. Ex. 1, at ¶¶ 136-144 (discussing SCOUT source code). This

   converts the packet from Ethernet to IP for processing at the IP layer. See id.

            All of this evidence shows that a pointer may—and oftentimes does—determine the format

   of a packet. To the extent that the Court retains the “outermost header” construction in connection

   with these terms, Implicit respectfully requests that the Court clarify that a pointer can be used to

   determine the outermost header of a packet and reject Defendants’ contrary position.

                     3.       Using Pointers to Process Packets Up the Protocol Stack, Including
                              Advancing a Reference, Can Be the Claimed Conversion

            The above evidence also shows that the claimed “convert” limitations, which reflect

   converting a packet from one format (e.g., TCP) to another format (e.g., an application format),

   are met using pointers to travel up and down the protocol stack for a message. As is well known

   to a person of ordinary skill in the art as reflected in the prior art, in these traditional systems, a

   packet can be “passed from protocol to protocol in the form of a memory buffer referred to by a


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   pointer variable.” Ex. 7, at 3. Converting “down” the protocol stack, the protocol can chain

   together different memory buffers by manipulating pointers rather than copying data.                Id.

   Converting “up” the protocol stack, each protocol can convert the packet by removing data using

   a “simple, straightforward operation involving pointer manipulation rather than data copying.” Id.

   This is how, for example, Linux-based systems use the sk_buff structure detailed above.

   SCOUT, Decasper, and FreeBSD operate in a similar manner to convert “up” the protocol stack.

            The Implicit Patents do not exclude this common, basic network-processing functionality.

   The Implicit Patents provide a path-based architecture that can inspect and demultiplex traffic at

   the application level—regardless of how the source code describes how the system converts from

   one layer to another (e.g., from TCP to an application layer).

            Should the Court require conversion of the “outermost header structure” to satisfy the

   “convert” limitations, Implicit respectfully requests that the Court clarify that a system can use

   pointers to a header to determine the outermost header of that packet pre- and post- conversion,

   i.e., that manipulating pointers is one way to convert packets from one format to another. To hold

   otherwise would have the effect of excluding C-based systems from the scope of the claims. The

   evidence supports this clarification and resolution of that issue at this stage.

            Implicit also respectfully requests that the Court find that advancing a reference can satisfy

   the “convert” limitations. The above evidence explains that “[p]ointers reduce data copying

   because abstract data types (e.g., buffers, protocol headers, and state information) can be passed

   by reference instead of value; pointers simplify header processing because structures defining

   headers are usually typecast onto data buffers . . .” Ex. 7, at 3. To convert up the protocol stack,

   SCOUT similarly increments head index pointer to the next header; the sk_pull function in

   Linux operates in a similar manner. Each of these systems convert from one format to another up



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   the protocol stack by advancing a reference. The Court’s construction should not exclude this type

   of functionality, which skilled artisans would have understood as “conversion” by the time the

   Implicit Patents were filed.

            Indeed, the Implicit Patents disclose a “single copy” embodiment in which a reference to

   the message can be passed to each conversion routine and those routines can “advance the

   reference past the header information for the protocol so that the reference is positioned at the next

   header.” ’683 Patent, at 14:10–16. The Court in NetScout rejected an interpretation of the

   “convert” limitations that would encompass “merely moving a reference” and held that this “single

   copy” disclosure was not an embodiment of “conversion” as recited in the claims because the

   Patents states that a conversion routine “may perform no conversion of the message.” NetScout,

   at 26–27 (quoting ’683 Patent, at 14:10–16).

            Implicit respectfully submits that the Court’s holding was incorrect. The conversion

   routines in the Implicit Patents are what perform the “conversion.” While those routines may

   perform no conversion in certain circumstances (e.g., logging), the conversion routines are the

   only routines disclosed in the Implicit Patents that actually perform conversion. And the Patents

   teach that a reference to the packet can be passed into those conversion routines, which then

   advance the reference to the next header. In any event, regardless of whether the disclosure is an

   embodiment of “conversion” on its own, the disclosure shows that skilled artisans would

   understand that the use of a reference pointer—including advancing a reference—certainly could

   be used in the conversion process.

            The intrinsic evidence recited above, which was not highlighted in the NetScout claim

   construction proceedings, further supports this view that advancing a reference can constitute the

   claimed conversion.         See e.g., Ex. 7, at 3   (“Removing data from a packet is a simple,



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            The Defendants’ construction requires two steps, each of which is inappropriate under

   Phillips. It first takes the description of a “session” in one embodiment and then limits the claims

   to that embodiment—even though the Implicit Patents lack the type of clear definitional language

   that Federal Circuit law requires to limit the claims in that way. Thorner v. Sony Computer Ent’t

   Am., LLC, 669 F.3d 1362, 1365–66 (Fed. Cir. 2012) (reciting the exacting standard to find

   lexicography or disavowal). In one embodiment, the Implicit Patents teach that the “session”

   includes “protocol and state information associated with that instance of the protocol.” ’683

   Patent, at 5:43–46.

            The Defendants’ construction then goes further. It takes that description of a “session”

   from one embodiment as including protocol-associated “state information” and replaces the term

   “state information” with the agreed construction of a different “state information” term—“state

   information associated with the message.” ’104 Patent, claim 1 (emphasis added). This is also

   improper. While state information associated with a protocol can certainly overlap with state

   information associated with a message (e.g., state information concerning whether the connection

   using the protocol is open, closed, or in the process of transmitting the message), there is no reason

   to collapse the two terms into the same definition, especially in the absence of a clear statement in

   the record that equates the two things. Bd. of Regents of the Univ. of Tex. Sys. v. BENQ Am. Corp.,

   533 F.3d 1362, 1371 (Fed. Cir. 2008) (“Different claim terms are presumed to have different

   meanings.”) (citation omitted).            The Court should reject the Defendants’ double-twisted

   construction and afford the “session” terms their plain meaning.

   V.       CONCLUSION

            For the foregoing reasons, Implicit respectfully requests that the Court enter an order

   adopting Implicit’s proposed constructions and rejecting the positions advanced by Defendants in

   their constructions.

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                                          CERTIFICATE OF SERVICE

            The undersigned certifies that the foregoing document is being filed electronically in

   compliance with Local Rule CV-5(a). As such, this document is being served on all counsel who

   are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(V). Pursuant to

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   deemed to have consented to electronic service will be served with a true and correct copy of the

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